               IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION


 IN RE:                                                CASE NO.: 3:16-BK-03304

 CHARLES E. WALKER,                                          CHAPTER 11
                                 DEBTOR
                                                         JUDGE MASHBURN



                                                      Adv. Proc. No. 3:19-ap-90103
 DEBRA A. IRVIN,
                            PLAINTIFF,

 v.

 GREEN WISE HOMES, LLC,
 CHARLES E. WALKER, JON PAUL
 JOHNSON, JULIE COONE, JAMES
 BRETT, and NATIONWIDE
 INVESTMENTS LLC,
                 DEFENDANTS.


           DEFENDANT GREEN WISE HOMES LLC ANSWER AND
              COUNTERCLAIMS AND THIRD PARTY CLAIMS


                                        *****

       COMES NOW, Green Wise Homes LLC, and for his its answer to Plaintiff’s

Complaint as follows:


      1.     Defendant lacks sufficient knowledge or information to admit where one

Debra Irvin lives or resides.


      2.     Admitted.


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      3.    Defendant lacks sufficient knowledge or information to admit this

averment as Defendant was not in existence at the time of the allegations put forth

in the averment.


      4.    Defendant lacks sufficient knowledge or information to admit this

averment.


      5.    Defendant lacks sufficient knowledge or information to admit this

averment.


      6.    Defendant lacks sufficient knowledge or information to admit this

averment.


      7.    Defendant lacks sufficient knowledge or information to admit this

averment.


      8.    Admit the cited code section is a general jurisdiction code section for

Chancery Courts.


      9.    Defendant lacks sufficient knowledge or information to admit this

averment.


      10.   Defendant lacks sufficient knowledge or information to admit this

averment.


      11.   Defendant lacks sufficient knowledge or information to admit this

averment.




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     12.    Defendant lacks sufficient knowledge or information to admit this

averment.


     13.    Defendant lacks sufficient knowledge or information to admit this

averment.


     14.    Defendant lacks sufficient knowledge or information to admit this

averment.


     15.    Defendant lacks sufficient knowledge or information to admit this

averment.


     16.    Defendant lacks sufficient knowledge or information to admit this

averment.


     17.    Defendant lacks sufficient knowledge or information to admit this

averment.


     18.    Defendant lacks sufficient knowledge or information to admit this

averment.


     19.    Defendant lacks sufficient knowledge or information to admit this

averment.


     20.    Defendant lacks sufficient knowledge or information to admit this

averment.


     21.    Defendant lacks sufficient knowledge or information to admit this

averment.

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     22.    Defendant lacks sufficient knowledge or information to admit this

averment.


     23.    Defendant lacks sufficient knowledge or information to admit this

averment.


     24.    Defendant lacks sufficient knowledge or information to admit this

averment.


     25.    Defendant lacks sufficient knowledge or information to admit this

averment.


     26.    DENIED.


     27.    Defendant lacks sufficient knowledge or information to admit this

averment.


     28.    Defendant lacks sufficient knowledge or information to admit this

averment.


     29.    Defendant lacks sufficient knowledge or information to admit this

averment.


     30.    Defendant lacks sufficient knowledge or information to admit this

averment.


     31.    Defendant lacks sufficient knowledge or information to admit this

averment.




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      32.    Defendant lacks sufficient knowledge or information to admit this

averment.


      33.    Defendant lacks sufficient knowledge or information to admit this

averment.


      34.    Defendant lacks sufficient knowledge or information to admit this

averment.


      35.    Defendant lacks sufficient knowledge or information to admit this

averment.


      36.    Defendant refers to the specific averment answer and incorporates by

reference.


      37.    DENIED.


      38.    DENIED.


      39.    DENIED.


      40.    Defendant lacks sufficient knowledge or information to admit this

averment.


      41.    Defendant refers to the specific averment answer and incorporates by

reference.


      42.    Defendant lacks sufficient knowledge or information to admit this

averment.



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      43.    Defendant lacks sufficient knowledge or information to admit this

averment.


      44.    Defendant lacks sufficient knowledge or information to admit this

averment.


      45.    Defendant lacks sufficient knowledge or information to admit this

averment.


      46.    Defendant lacks sufficient knowledge or information to admit this

averment.


      47.    Defendant lacks sufficient knowledge or information to admit this

averment.


      48.    Defendant lacks sufficient knowledge or information to admit this

averment.


      49.    Defendant refers to the specific averment answer and incorporates by

reference.


      50.    DENIED.


      51.    Defendant lacks sufficient knowledge or information to admit this

averment.


      52.    DENIED.


      53.    DENIED.



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      54.    DENIED.


      55.    Defendant refers to the specific averment answer and incorporates by

reference.


      56.    DENIED.


      57.    DENIED.


      58.    Defendant lacks sufficient knowledge or information to admit this

averment.


      59.    DENIED.


      60.    DENIED.


      61.    DENIED.


      62.    DENIED.


      63.    Defendant refers to the specific averment answer and incorporates by

reference.


      64.    DENIED. This is an outright lie and the Plaintiff and her attorneys

know it is lie and made this allegation with knowledge that is false.


      65.    DENIED. This is an outright lie and the Plaintiff and her attorneys

know it is lie and made this allegation with knowledge that is false.


      66.    DENIED. The only fraud Defendant is aware of is the fraud the Plaintiff

and her attorneys are perpetrating on the Court and the Defendant.


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      67.    DENIED. The Plaintiff and her attorneys know this averment is false

and had knowledge of its falsity. Furthermore, it is a misstatement of the law.


      68.    DENIED.


      69.    DENIED. Plaintiff and her attorneys have wrongfully and intentional

asserted a false and fictitious lien lis pendens against the Defendant which has

caused the Defendant substantial harm.


      PLAINTIFF’S RELIEF REQUESTED:


      Defendant denies that Plaintiff is entitled to any recovery whatsoever.

Defendant further states that Plaintiff is not entitled to a lien lis pendens or any

prejudgment attachment and that the Defendant has been severely harmed by her

and her attorneys’ lies.


      To the extent Plaintiff is asserting a trial by Jury Defendant demands a Jury

of twelve (12).


      The Defendant incorporates any affirmative defense or other defense asserted

by any other Defendant in this matter and may rely on such defense as though fully

set forth herein.


                  COUNTERCLAIM AND THIRD PARTY CLAIMS

Defendant having fully answered now sues the Plaintiff and her attorneys as follows:

      1.     Paul Krog is a licensed attorney who can be found in Davidson County,

Tennessee, at 414 Union Street, Suite 1740, Nashville, Tennessee, 37219



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          2.   Eugene Bulso is a licensed attorney who can be found in Davidson

County, Tennessee, at 414 Union Street, Suite 1740, Nashville, Tennessee, 37219.




    CLAIM FOR WRONGFULLY ASSERTING A LIEN LIS PENDENS ON
                DEFENDANT’S REAL PROPERTY

          3.   Defendant will refer collectively to Debra Irvin, Paul Krog, and Eugene

Bulso as “Plaintiffs”.

          4.   Plaintiffs, one with the other, caused a lien lis pendens to be recorded

against the Defendant’s property on September 4, 2019, in Instrument # 20190404-

0030735 attached as Exhibit A.

          5.   This lien lis pendens was wrongfully asserted and each of the Plaintiffs

knew it was unlawful when they recorded it in the Davidson County Register of Deeds

Office.

          6.   This lien lis pendens has damaged the Defendant in the amount of

$825,000, plus legal fees, court costs, discretionary costs and incidental costs.

          WHEREFORE Defendant prays,

          A.   This matter will be tried by a Jury of twelve (12);

          B.   That Defendant be awarded damages in the amount of $825,000.00;

          C.   That all liens be removed from Defendant’s property;

          D.   That the Plaintiffs be required to record a notice of apology with the

Register of Deeds that the lien lis pendens they recorded is not true and they are very




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sorry, or in the alternative, that the Court issue an Order declaring that the lien lis

pendens is unlawful and void ab initio;

      E.     The Defendant be awarded its reasonable attorney fees, court costs,

discretionary fees and other incidental costs together with such other and further

relief as it may be entitled.

Date: May 12, 2019

                                          Respectfully submitted,



                                          s/Charles E. Walker                      -
                                          Charles E. Walker, BPR No. 021277
                                          WOODBINE LEGAL PC
                                          69 Thompson Lane
                                          Nashville, Tennessee 37211
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                                          E-Mail: charles@woodbinelegal.com
                                          Attorney for Green Wise Homes, LLC




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                           CERTIFICATE OF SERVICE:

        I hereby certify that on May 12, 2019, I served the following parties by U.S.

Mail:


        Eugene N. Bulso, Jr.
        Paul J. Krog
        Leader, Bulso & Nolan PLC
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        Pro Se Defendant

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        Pro Se Defendant


                                         s/Charles E. Walker                     -
                                         Charles E. Walker, BPR No. 021277




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